Case 9:20-md-02924-RLR Document 2615 Entered on FLSD Docket 01/22/2021 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                       MDL NO. 2924
   PRODUCTS LIABILITY                                                                20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART


                                                 /

   THIS DOCUMENT RELATES TO:                                              JURY TRIAL DEMAND


   Gary S. Taulbee
   Plaintiff


                                   SHORT FORM COMPLAINT

          The Plaintiff named below, by counsel, files this Short Form Complaint against Defendants

   named below. Plaintiff incorporates by reference the allegations contained in the Master Personal

   Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Liability Litigation, MDL No.

   2924 (S.D. Fla). Plaintiff files this Short Form Complaint as permitted by Pretrial Order No. 31.

          Plaintiff selects and indicates by completing where requested, the Parties and Causes of

   Actions specific to this case. Where certain claims require additional pleading or case specific

   facts and individual information, Plaintiff shall add and include them herein.

          Plaintiff, by counsel, alleges as follows:

                         I.      PARTIES, JURISDICTION AND VENUE

   A.     PLAINTIFF

          1.      Plaintiff, Gary S. Taulbee (“Plaintiff”) brings this action (check the application
                  designation):

                  X      On behalf of himself;
Case 9:20-md-02924-RLR Document 2615 Entered on FLSD Docket 01/22/2021 Page 2 of 5




                  __     In representative capacity as the ________________, on behalf of the
                         injured party, _______________.

          2.      Injured Party is currently a resident and citizen of Lexington, Kentucky and claims
                  damages as set forth below.

                                                        -OR-

                  Decedent died on (Month, Day, Year) _______________. At the time of
                  Decedent’s death, Decedent was a resident and citizen of (City, State)
                  __________________.

   If any party claims loss of consortium,

          3.             N/A              (“Consortium Plaintiff”) alleges damages for loss of
                  consortium.

          4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                  citizen and resident of (City, State) N/A                 .

          5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                          N/A                     .

   B.     DEFENDANT(S)

          6.      Plaintiff names the following Defendants from the Master Personal Injury
                  Complaint in this action:

                  a.     Brand Manufacturers:
                         1.    Boehringer Ingelheim, 2. GlaxoSmithKline, 3. Pfizer, 4. Sanofi

                  b.     Generic Manufacturers:

                  c.     Distributors:

                  d.     Retailers:

                  e.     Repackagers:

                  f.     Others Not Named in the MPIC:

   C.     JURISDICTION AND VENUE

          7.      Identify the Federal District Court in which Plaintiff would have filed this action in
                  the absence of Pretrial Order No. 11 (direct filing) or, if applicable, the District
                  Court to which their original action was removed]:

                                                    2
Case 9:20-md-02924-RLR Document 2615 Entered on FLSD Docket 01/22/2021 Page 3 of 5




               Eastern District of Kentucky, Central Division at Lexington

         8.    Jurisdiction is proper upon diversity of citizenship.

                                    II.       PRODUCT USE

         9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                                         By prescription

                        X                Over the counter

         10.   The Injured Party used Zantac and/or generic ranitidine from approximately
               (month, year) 2012 to     2019 .

                                  III.      PHYSICAL INJURY

         11.   As a result of the Injured Party’s use of the medications specified above, he was
               diagnosed with the following specific type of cancer (check all that apply):

                Check all   Cancer Type                                      Approximate Date of
                that                                                         Diagnosis
                apply
                            BLADDER CANCER
                            BRAIN CANCER
                            BREAST CANCER
                    X       COLORECTAL CANCER
                            ESOPHAGEAL/THROAT/NASAL
                            CANCER
                            INTESTINAL CANCER
                            KIDNEY CANCER
                            LIVER CANCER
                            LUNG CANCER
                            OVARIAN CANCER
                            PANCREATIC CANCER
                            PROSTATE CANCER
                            STOMACH CANCER
                            TESTICULAR CANCER
                            THYROID CANCER
                            UTERINE CANCER
                            OTHER CANCER: ____________
                            DEATH (CAUSED BY CANCER)

         12.   Defendants, by their actions or inactions, proximately caused the injuries to
               Plaintiff.

                                                   3
Case 9:20-md-02924-RLR Document 2615 Entered on FLSD Docket 01/22/2021 Page 4 of 5




                              IV.      CAUSES OF ACTION ASSERTED

         13.   The following Causes of Action asserted in the Master Personal Injury Complaint
               are asserted against the specific defendants in each class of Defendants enumerated
               therein, and the allegations with regard thereto are adopted in this Short Form
               Complaint by reference.

                Check if   COUNT Cause of Action
                applicable
                    X            I       STRICT PRODUCTS LIABILITY–FAILURE TO WARN

                    X            II      STRICT PRODUCTS LIABILITY-DESIGN DEFECT

                    X           III      STRICT PRODUCTS LIABILITY–MANUFACTURING
                                         DEFECT

                    X           IV       NEGLIGENCE–FALIURE TO WARN

                    X            V       NEGLIGENT PRODUCT DESIGN

                    X           VI       NEGLIGENT MANUFACTURING

                    X           VII      GENERAL NEGLIGENCE

                    X           VIII     NEGLIGENT MISREPRESENTATION

                    X           IX       BREACH OF EXPRESS WARRANTIES

                    X            X       BREACH OF IMPLIED WARRANTIES

                                XI       VIOLATION OF CONSUMER PROTECTION AND
                                         DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                                         statute below:
                    X           XII      UNJUST ENRICHMENT

                    X           XIII     LOSS OF CONSORTIUM

                    X           XIV      SURVIVAL ACTION

                    X           XV       WRONGFUL DEATH

                    X           XVI      OTHER:

                    X          XVII      OTHER:

                              If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):

                                           V.       JURY DEMAND

         14.   Plaintiff hereby demands a trial by jury as to all claims in this action.


                                                   4
Case 9:20-md-02924-RLR Document 2615 Entered on FLSD Docket 01/22/2021 Page 5 of 5




                                                        VI.   PRAYER FOR RELIEF

             WHEREFORE, Plaintiff has been damaged as a result of Defendants’ actions or inactions

   and demands judgment against Defendants on each of the above-referenced causes of action,

   jointly and severally to the full extent available in law or equity, as requested in the Master Personal

   Injury Complaint.

                                                               Respectfully submitted,

                                                               HERREN LAW, PLLC
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                                                               /s/ Thomas K. Herren
                                                               THOMAS K. HERREN (Bar ID #31500)
                                                               ATTORNEY FOR PLAINTIFF
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